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  16                         UNITED STATES DISTRICT COURT
  17                      SOUTHERN DISTRICT OF CALIFORNIA
  18 DARRYL DUNSMORE, ERNEST                         Case No. 3:20-cv-00406-AJB-WVG
     ARCHULETA, ANTHONY EDWARDS,
  19 REANNA LEVY, JOSUE LOPEZ,                       NOTICE OF MOTIONS AND
     CHRISTOPHER NELSON,                             MOTIONS FOR PRELIMINARY
  20 CHRISTOPHER NORWOOD, and                        INJUNCTION AND
     LAURA ZOERNER, on behalf of                     PROVISIONAL CLASS
  21 themselves and all others similarly situated,   CERTIFICATION
                    Plaintiffs,                      Judge:      Hon. Anthony J. Battaglia
  22
                 v.
  23 SAN DIEGO COUNTY SHERIFF’S                      Date: June 16, 2022
     DEPARTMENT, COUNTY OF SAN                       Time: 2:00 p.m.
  24 DIEGO, CORRECTIONAL                             Ctrm.: 4A
     HEALTHCARE PARTNERS, INC.,
  25 LIBERTY HEALTHCARE, INC., MID-
     AMERICA HEALTH, INC., LOGAN
  26 HAAK, M.D., INC., SAN DIEGO
     COUNTY PROBATION DEPARTMENT,
  27 and DOES 1 to 20, inclusive,
  28                Defendants.
     [3901918.1]                                1              Case No. 3:20-cv-00406-AJB-WVG
                              NOTICE OF MOTIONS AND MOTIONS FOR
                  PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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       [3901918.1]                               2                Case No. 3:20-cv-00406-AJB-WVG
                                 NOTICE OF MOTIONS AND MOTIONS FOR
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Case 3:20-cv-00406-AJB-DDL            Document 119      Filed 05/02/22   PageID.1033     Page 3
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   1 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
   2                 PLEASE TAKE NOTICE that on June 16, 2022 at 2:00 PM, before Judge
   3 Anthony J. Battaglia, in the U.S. District Court for the Southern District of
   4 California, Plaintiffs Darryl Dunsmore, Ernest Archuleta, Anthony Edwards,
   5 Reanna Levy, Josue Lopez, Christopher Nelson, Christopher Norwood, and Laura
   6 Zoerner, on behalf of themselves and all other similarly situated, will move for a
   7 preliminary injunction and for provisional class certification (“the Motions”).
   8                 The Motions will be based on this notice; the accompanying memorandum of
   9 points and authorities; the accompanying request for judicial notice and associated
  10 exhibits; the declarations of Van Swearingen, Gay Grunfeld, James Austin, Pablo
  11 Stewart, Robert Cohen, Syroun Sanossian, Christine Evans, Jennifer Alonso,
  12 Anthony Ray Edwards, Cedrick Jones, Christopher Nelson, Christopher Norwood,
  13 Daniel Webb, Darryl Lee Dunsmore, David Francis Smith III, Dion Scott Buckelew,
  14 Dylan Lacroix, Ernest Archuleta, Gary Bartlett, Gustavo Sepulveda, Isaiah Glenn,
  15 James Clark, Jose Antonio Lopez, Joshua Roberts, Josue Lopez, Katrina Rios,
  16 Mark Baker, Michael Keavney, Nikki Yach, Reanna Levy, Robert Hollon, and
  17 Waylon Cozart, and associated exhibits; any evidence and argument presented at the
  18 hearing on the Motions, and all other papers and pleadings on file in this action.
  19
  20
  21 DATED: May 2, 2022                           Respectfully submitted,
  22
                                                  ROSEN BIEN GALVAN & GRUNFELD LLP
  23
  24                                              By: /s/ Van Swearingen
  25                                                  Van Swearingen
  26
                                                  Attorneys for Plaintiffs
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       [3901918.1]                                    3                Case No. 3:20-cv-00406-AJB-WVG
                                      NOTICE OF MOTIONS AND MOTIONS FOR
                          PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
